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Ba.rbara K. Polich (#2620)

Jason D. Boren (#7816)

BALLARD SPAHR ANDREWS & INGERSOLL, LLP

One Utah Center, Suite 600

201 South Main Street

Salt Lake City, Utah 841 11-2221

Telephone: (801) 531-3000

Facsimile: (801) 531-3001

E-mail: polichb@balla.rdspahr.com
borenj@ballardspahr.com

Attorneys for Plaintiffs Rio Tinto America Inc.,
Rio Tinto Energy America, Kennecott Utah Copper
Corporation, and Kennecott La.nd Company

 

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Gary R Plotechel§_ 3 3 it
Am;“M. M§he§£
Nicole J. Ren_ouar_d.
WHYTE HIRSCHBOECK DUDEK S C.
555 East Wells_ St_re_e_t Slirité 1900
Mllwauke).=.l Wl§cbn§ln 53202
Telephone: (4]4) 273»2100
Facsimile: (414) 223-5000
E-mail: gplotecher@\vhdlaw.com
amaher@thlaW.com
nrenouard@thlaW.com

 

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

RIO TINTO AMERICA INC., RIO TINTO
ENERGY AMERICA, KENNECOTT
UTAH COPPER CORPORATION,
KENNECOTT LAND COMPANY, each
being a Delaware corporation_,

Plaintiffs,

V.

THOMAS A. BELCHAK, an individual,
RIO TINTO AMERICA INC., a Utah
corporation and d!b/a RIO TINTO
UNIFIED,

Defendants.

 

Case No.: 2:06CV

COMPLAINT

 

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DATE STAMP: 10/02/2006 @ 15:33:39
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Plaintiffs, Rio Tinto Arnerica lnc., Rio Tinto Energy America Inc., Kennecott Utah
Copper Corporation, and Kennecott Land Cornpany (collectively, the “Plaintiffs”), by their
attorneys, Ballard Spahr Andrews & Ingersoll, LLP and Whyte Hirschboeck Dudek S.C., as and
for their Complaint against defendants, Thornas A. Belchak, Rio Tinto America Inc., a Utah
corporation, and Rio Tinto Arnerica Inc. dfb/a Rio Tinto Unifled (collectively, the
“Defendants”), allege as follows: n

aarie_s

l. Plaintiff Rio Tinto America Inc. (“Rio Tinto America”) is a Delaware corporation,
with a principal place of business at 505 South Gillette Avenue, Gillette, WY 82717-3009.

2. Plaintiff Rio Tinto Energy America Inc. (“Rio Tinto Energy”) is a Delaware
corporation, with a principal place of business at 505 South Gillette Avenue, Gillette, WY
82717-3009. Rio Tinto Energy Arnerica Inc. is owned by Rio Tinto America Inc.

3. Plaintiff Kennecott Utah Copper Corporation (“KUCC”) is a Delaware corporation,
With a principal place of business at 8315 West 3595 South, Magna, UT 84044-6001. Kennecott
Utah Copper _Corporation is owned by Kennecott Holdings Corporation, Which in turn is owned
by Rio Tinto Arnerica Inc.

4. Plaintiff Kennccott Land Company (“KLC” is a Delaware corporation, with a
principal place of business at 5295 South 300 West, Salt Lake City, UT 84107. Kennecott Land
Company is owned by Kennecott Utah Copper Corporation, which is owned by Kennecott
Holdings Corporation, which in turn is owned by Rio Tinto America, Inc.

5. Defendant Thornas A. Belchak (“Belchak”) is a Utah citizen residing at 9579 Drive

Dunsinane Drive, South Jordan, UT 84095.

 

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6. Defendant Rio Tinto America Inc., a Utah corporation, is a corporation incorporated
under the laws of the state of Utah with a principal place of business alleged to be at 1780 W.
9000 South, #301, West Jordan, Utah 84088 but which is in fact nothing more than a rented drop
box. Rio Tinto Arnerica lnc. is also doing business as Rio Tinto Unified, with a principal place
of business listed the same as the corporation Rio Tinto Arnerica lnc, alleged to be at 1780 W.
9000 South, #301, West Jordan, Utah 84088.

Jurisdiction & Venue

7. This Court has original jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and
1338, with reference to 15 U.S.C. § 1125(a).

8. Personal jurisdiction exists over Belchak because he is a citizen of Utah who resides
and Works in Utah.

9. Personal jurisdiction exists over Defendant Rio Tinto Arnerica Inc. because it is
incorporated in the State of Utah.

10. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 139l(b) and (c) and
because Defendants can be found in this district and the events giving rise to' the claims herein
have occurred in this district.

BACKGROUND AND GENERAL ALLEGATIONS

The Rio Tinto Group of Contpanies

11. Rio Tinto America is a member of the Rio Tinto Group (NYSX symbol RTP) is one

of the world’s largest mining enterprises with activities in more than 40 countries and a global

turnover in 2005 in excess of 32 billion ($US).

 

 

 

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12. Rio Tinto America is the parent company of` the North American asset base of the Rio
Tinto Group, and, as such, all business conducted within the United States on behalf of the Rio
Tinto Group is conducted through Rio Tinto America and its direct and indirect subsidiaries

13. Plaintiffs Rio Tinto Energy, KUCC and KLC are all direct or indirect subsidiaries of`
Rio Tinto America.

14. Rio Tinto America is the plan sponsor as well as the “Plan Administrator”, as that
term is defined in the Employee Retirement Income Security Act of 1974 (“ERISA”) of Rio
Tinto Ameri'ca Inc. Retirement Plan, a defined benefit pension plan, whose participants are the
6,500 employees, retirees and spouses of Rio Tinto America’s U.S. subsidiaries and affiliates
some of whom are residents of the State of Utah.

15. Rio Tinto America is the plan sponsor as well as the ERISA Plan Administrator of` the
Rio Tinto America Inc. Savings Plan, a 401(k) plan, whose participants are the 5,000 employees
and former employees of Rio Tinto America’s U.S. subsidiaries and affiliates, some of` whom are
residents of the State of Utah.

16. Rio Tinto America is also the plan sponsor as well as the ERISA Plan Administrator
of the Rio Tinto America Inc. Health and Welfare Plan, an employer Sponsored health plan,
whose participants and beneficiaries are the 10,000 plus employees and former employees and
their dependents of Rio Tinto America’s U.S. subsidiaries and affiliates some of whom are
residents of the State of` Utah.

17. Rio Tinto America contracts with as many as a dozen different independent health

plan administrators and insurance carriers across the country that provide medical, dental, vision

 

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and EAP services to the participants and beneficiaries of the Rio Tinto America, lnc. Health and
Welf`are Plan.

18. ERISA Section 404 imposes a fiduciary duty on the Plan Administrator and as a
fiduciary of the entities described in paragraphs 13 through 16 above, Rio Tinto Arnerica is
obligated to protect the assets of those entities and to ensure that the beneficiaries thereof - who
recognize and associate the name Rio Tinto America with each of the benefit plans described
above _ know and trust that their assets are safe.

Plaintiffs’ Use of the RIO TINTO Name and Mark

19. Each Plaintiff is a member of the Rio Tinto Group and uses the Rio Tinto name and
mark in relation to its goods and services and to represent that it is part of the global family of
businesses the public has come to know as Rio Tinto (“RIO TINTO”) as evidenced by its
website http://www.riotinto.com, true and correct copies of poitions of this website are attached
hereto as Exhibit A.

20. Rio Tinto Ameriea has been using RIO TINTO since July 28, 1997, when it changed
its name from RTZ America lnc. to Rio Tinto America Inc. A true and correct copy of the
Certificate of Amendrnent of Certificate of Incorporation evidencing the use of the RIO TINTO
name by Rio Tinto America is attached hereto as Exhibit B.

21. Rio Tinto Energy is engaged in the business of mining, extracting, producing,
transporting, storing and distributing coal and coal by-products. Rio Tinto Energy has used the

RIO TINTO name and mark since at least as early as May 8, 2006. A true and correct copy of

letterhead, an invoice, business cards, marketing and website materials, advertisements, a press

 

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release and letter announcing a name change, all of which demonstrate use of the RIO TINTO
name and mark by Rio Tinto Energy are attached hereto as Exhibit C.

22. KUCC is engaged in the business of` mining, extracting, producing, transporting,
storing and distributing copper and copper by-products, and has been operating in this business
since 1904. In 1989, KUCC was acquired by the Rio Tinto Group. Prior to the time of the acts
alleged herein, KUCC has been using the RIO TINTO name and mark or indicating to the public
that it is part of the Rio Tinto Group. A true and correct copy of the current logo, business cards,
letterhead, website materials, a sign outside KUCC’s Arbor Park offices, a welcome sign at
KUCC’s Copperton offices, various photos and a tour guide booklet from the Kennecott
Bingham Canyon Mine Visitor Center and portions of` various informational reports
demonstrating use of the RIO TINTO name and mark are attached hereto as Exhibit D.

l 23. KLC is a land development company committed to using the land and water assets
owned by KUCC in a way that creates enduring and sustainable communities in Utah. Prior to
the time of the acts alleged herein, KLC has been using the RIO TINTO name and mark or
indicating to the public that it is part of the Rio Tinto Group. A true and correct copy of website
and marketing materials demonstrating use of the RIO TINTO name and mark is attached hereto
as Exhibit E.

24. In addition to Rio Tinto Energy, KUCC and KLC, several other companies owned by
Rio Tinto America use the RIO TINTO name and mark and are also members of the Rio Tinto

Group, including, without limitation:

0 Rio Tinto Mim`ng and Exploration lnc.;

0 Rio Tinto America Indust:rial Materials, Inc.;

 

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0 Rio Tinto Mineral Services, Inc.;

¢ Rio Tinto Energy America Services Company;
o Rio Tinto Services Inc.;

0 Rio Tinto White Horse Company; and

¢ Rio Tinto Minerals lnc.

25. Prior to the acts complained of` herein, Plaintiff`s have continuously and extensively
used the RIO TINTO name and mark throughout the United States in relation to their goods and
services and/or to advertise and promote themselves as members of the Rio Tinto Group.

26. Plaintif`fs have made significant expenditures to advertise and promote their goods
and services nationally under the RIO TINTO name and mark, and use of the RIO TINTO name
and mark account for substantial revenues and profits to Plaintiffs.

27. As a result of the continuous and extensive advertising, promotion and use, the RIO
TINTO name and mark have become distinctive, widely known and recognized as identifying
Plaintiffs as a source of high-quality goods and services and as distinguishing the source of those
goods and services from others.. The RIO TINTO name and mark have come to represent and
symbolize the enviable reputation and very valuable goodwill of Plaintif`fs among members of
the trade and the purchasing public with regard to Plaintiffs’ goods and services.

28. The RIO TINTO name and mark is entitled to immediate and strong protection from
infringement and injury.

Plaintiffs’ Learn of Defendants’ Improper Use of the RIO TINTO name and mark
29. On September 20, 2006, Ms. Victoria Peacey, KUCC’s Senior Environmental

Advisor, Was contacted by Mr. Doug Jensen of the Utah Department of Oil Gas & Mining

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(“DOGM”) who indicated that another DOGM employee, Ms. Susan White, had been contacted
by a representative of` United Title Company saying that Rio Tinto Unified had recorded a copy
of` a September 28, 1978 Mined Land Reclamation Contract (the “Reclamation Contract”)
between KUCC and the Utah Board of Oil, Gas, and Mining at the Salt Lake County Recorder’s
Office.

30. The Reclamation Contract establishes certain reclamation obligations with respect to
KUCC’s mining and mineral processing operations located in the central and northern Oquirrh
Mountains. The Reclamation Contract describes the location of KUCC’s operations as including
approximately 90 sections of land, or approximately 57,600 acres, most of which are located in
Salt Lake County.

31. The United Title Company representative asked Ms. White whether KUCC intended
to start mining again in the areas identified in the document and reported that since the
information had been filed with the Salt Lake County Recorder’s Office, he had to include it in
the title search. Mr. Jensen, in turn, inquired of KLC as to why the document had been recorded
by Rio Tinto Unified.

32. KUCC did not record the Reclamation Contract with the Salt Lake County Recorder
and is not related to, or familiar with, a company called Rio Tinto Unified.

33. Upon investigation, Plaintif`f`s leamed that on August 16, 2006, Belchak, on behalf of
Defendants, without authority or the knowledge or consent of KUCC, or any other member of
the Rio Tinto Group, obtained a certified copy of the .Reclamation Contract from DOGM and

submitted it for recording to the Salt Lake County Recorder’s Office. A true and correct copy of

the Reclamation Contract as recorded by Belchak is attached hereto as Exhibit F. The

 

 

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Recordcr’s stamp at the top right comer of the first page of Exhibit F identifies Rio Tinto Unified

as the party tendering the document for recordation

34. The lands identified in the Reclamation Contract and against which the Reclamation
Contract was recorded are currently owned by KUCC, KLC and third parties who acquired
property rights from KUCC or KLC.

35 . Defendants do not have any relationship with Plaintiffs or any other member of the
Rio Tinto Group, have no legal interest in the Reclamation Contract, and do not own or have any
interest in the lands against which the Reclamation Contract was recorded.

36. The recording of the Reclamation Contract by Defendants is a wholly frivolous and
vexatious act which purports to create a lien or encumbrance on the lands owned by KUCC,
KLC, its affiliates, and third parties in favor of the Utah Board of Oil, Gas, and Mining, when in
fact the Reclamation Contract creates no such lien either by its temis or by operation of law
under the Utah Mined Land Reclamation Act. Recording of the Reclamation Contract by
Dcfendants is not authorized by the Utah Mined Land Reclamation Act or any other state or
federal statute, by any court order, or any of the Plaintiffs. The recording of the Reclamation
Contract by Defendants is a wrongful lien and improperly clouds title to the property owned by
KUCC, KLC and other third parties.

37. After learning about the recordation of the Reclamation Contract and upon further
investigation, Plaintiffs learned that on August 15, 2006, Belchak incorporated a company with
the identical name of Plaintif`f Rio Tinto America, a Utah corporation, with the Office of the
Utah Secretary of State. A true and correct copy of the Articles of Incorporation for Rio Tinto

America lnc., a Utah corporation, is attached hereto as Exhibit G.

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38. Plaintif`f`s also learned that, on August 15, 2006, Belchak reserved “Rio Tinto
America Inc.” and “Rio Tinto Unified” with the Utah Department of Commerce as registered
names to conduct business. A true and correct copy of these corporate name reservations with
the Utah Department of Commerce is attached hereto as Exhibit H. A true and correct copy of
the name reservation application for Rio Tinto Unified, showing Rio Tinto America, a Utah
corporation, is attached hereto as Exhibit I.

39. Belchak was aware of KUCC and KLC and their relationship with the Rio Tinto
America and/or the Rio Tinto Group. Prior to the acts alleged herein, Belchak has attended
several public meetings and voiced objections against KUCC and KLC. ln 1997, KUCC
installed a replacement well on Belchak’s property and for Belchak’s benefit, and KUCC and
Belchak subsequently entered into a Settlement Agreement and Release on September 2, 1999 in
relation to this replacement well.

40. In part because of Belchak’s history with KUCC and KLC, Belchak had full
knowledge of Plaintiffs’ RIO TINTO name and mark and willfully and purposefully chose the
corporate names confusingly similar to Plaintiffs’ RIO TINTO name and mark to disrupt
Plaintiffs’ businesses and to mislead, cause confusion or to deceive.

41. Belchak incorporated Rio Tinto America Inc., a Utah corporation, with the intent of
giving the Salt Lake County Recorder the impression that he was somehow associated with
Plaintiffs So that the Recorder would accept the Reclamation Contract for recordation

42. None of the Defendants has acquired any rights in the RIO TINTO name and mark

prior to any of Plaintiffs’ initial use of the RIO TINTO name and mark.

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43. By incorporating Rio Tinto America Inc., a Utah corporation, and by doing business
as Rio Tinto Unified, Belchak has falsely represented that he and Defendant Rio Tinto America
Inc. are in some way authorized by or related to Plaintiffs and thereby has purposefully and
mischievously misled, caused confusion, or is likely to mislead or cause confusion, with the
public, government agencies and officials and purchasers of Plaintiffs’ goods and services.

44. The likelihood of this deception has caused or is likely to cause serious harm to
Plaintiffs’ property, the RIO TINTO name and mark and goodwill and has damaged or is likely
to materially damage Plaintiffs and their respective businesses

Count I

False Designation of Origin and False or Misleading

Description or Representation of Fact
15 U.S.C. § 1125(a)

45. Plaintiffs reallege and incorporate by reference as if fully set forth herein the
allegations contained in paragraphs 1 through 44 above.

46. Defendants’ use of the RIO TINTO name and mark is without authorization from
Plaintiffs.

47. The Defendants’ misappropriation and unauthorized use of the RIO TINTO name and
mark has caused, or is likely to cause, confusion, mistake or deception with respect to: (a) the
origin of Defendants’ goods and services; (b) whether the Defendants’ goods and services are
sponsored or approved by Plaintiffs; or (c) whether there is an association between Defendants
and Plaintiffs. The likelihood of this confusion, mistake or deception has caused or is likely to
cause serious harm to Plaintiffs’ property and goodwill and has damaged or is likely to

materially damage Plaintiffs and their respective businesses

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48. Until Defendants are enjoined from using the RIO TINTO name or mark, or any
derivative thereof, confusion among the public and in the trade will result by reason of the
identical nature of the names and marks. Third parties, government agencies and purchasers
familiar with Plaintiffs would believe that Defendants are, contrary to fact, associated with,
endorsed by or in some way related to Plaintiffs. Any act by Defendants or fault or defect in
Defendants’ goods or services would reflect upon and seriously injure the reputation that `
Plaintiffs have established for its goods and services sold under the RIO TINTO name and mark.
In addition, purchasers familiar with the RIO TINTO name and mark would likely confuse
Plaintiffs with Defendant Rio Tinto America Inc. and Rio Tinto Unified. Confusion will likely
result in damage to Plaintiffs’ income and reputation and potentially a loss of sales.

49. Defendants’ use constitutes a false designation of origin and a false or misleading
description or representation of fact, which is likely to cause confusion, mistake or deception to
the serious detriment of Plaintiffs

50. Def`endants’ actions have been willful and with full knowledge of the false
designation of origin and false or misleading description or representation of fact.

51. Defendants’ acts constitute a violation of 15 U.S.C. § llZS(a)(l).

§_M
Federal Trademark Dilution
15 U.S.C. 1125(c)

52. Plaintiffs reallege and incorporate by reference as if fully set forth herein the

allegations contained in paragraphs 1-44 and 46~50 above.

53. The RIO TINTO name and mark have become famous and distinctive

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54. Defendants’ use of the Rio Tinto America Inc. and Rio Tinto Unified names in
commerce Was Subsequent to the RIO TINTO name and mark becoming famous.

55. Defendants’ use of the Rio Tinto America Inc. and Rio Tinto Unified names blurs,
tamishes and causes dilution of the RIO TINTO name and mark and causes serious harm to
Plaintiffs’ respective businesses, property and goodwill

56. Defendants’ use of the Rio Tinto America lnc. and Rio Tinto Unified names lessens
the capacity of the RIO TINTO name and mark to identify and distinguish Plaintiffs and their
goods and services.

57. Defendants have acted willfully and with the intent to dilute the fame or
distinctiveness of the RIO TINTO name and mark.

Count III
Iniurv to business reputation - Dilution under Utah State Law
70-3a-403 '

58. Plaintiffs reallege and incorporate by reference as if fully set forth herein the
_ allegations contained in paragraphs 1-44, 46-50 and 53-51r above.

59. The RIO TINTO name and mark have become famous in Utah.

60. Defendants’ used of the RIO TINTO name and mark began after the name and mark
became famous, and such use has caused or is likely to cause dilution of the distinctive quality of
the Rio Tinto name and mark.

61. Defendants have acted willfully and with the intent to trade on Plaintiffs’ reputation

or to cause dilution of the RIO TINTO name and mark.

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Count IV
Intentional Interference with Existing and Prospective Business Relations

62. Plaintiffs reallege and incorporate herein by reference the allegations set forth in
paragraphs 1-44, 46-50, 53-57 and 59-61 above.

63. In connection with the conduct of their business, Plaintiffs have entered into valid
contractual relationships with various individuals and business entities for the purpose of
furthering the sale of Plaintiffs’ goods and services.

64. Belchak knew, or should have known, of Plaintiffs’ contractual relationships with
various individuals and business entities.

65. By virtue of registering Rio Tinto America Inc., a Utah corporation, with the Utah
Secretary of State, reserving the name Rio Tinto Unified and recording the Reclamation Contract
with the Salt Lake County Recorder, Belchak intentionally, unjustifiably and improperly
interfered With Plaintiffs’ contractual relationships by improper means or for an improper
purpose.

66. Plaintiffs have been damaged as a result of tortious interference by Belchak with
Plaintiffs’ contractual relationships

Count V
Private Nuisance

67. Plaintiffs reallege and incorporate by reference as if fully set forth herein the
allegations contained in,paragraphs 1-44, 46-50, 53-57, 59-61 and 63-66 above.

68. By recording the Reclamation Contract with the Salt Lake County Recorder under the
Rio Tinto Unified name, Defendants actions have caused injury to KUCC’s and KLC’s

enjoyment of their property identified in the Reclamation Contract.

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69. Defendants’ actions were intentional and unreasonable
70. The injury caused by Defendants to KUCC and KLC is substantial and unreasonable

Count VI
Common Law Trademark Infringement

71. Plaintiffs reallege and incorporate by reference as if fully set forth herein the
allegations contained in paragraphs 1-44, 46-50, 53-57, 59-61, 63~66 and 68- 70 above.

72. Defendants’ acts constitute trademark inhingement under the common law of the
State of Utah.

WHEREFORE, plaintiffs Rio Tinto America Inc., Rio Tinto Energy America, Kennecott

Utah Copper Corporation and Kennecott Land Company pray judgment against the Defendants,

.Thomas A. Belchak, Thomas A. Belchak dfb/a Rio Tinto Unified and Rio Tinto America Inc., as

follows:
l. A preliminary and permanent injunction against Defendants and all related
entities using the RlO TINTO name or mark, including Rio Tinto _America Inc., a Utah

corporation, and Rio Tinto Unified, their owners, directors, officers, employees, agents,

` representatives, licensees and any and all persons in active concert or participation with

Defendants, enjoining and restraining the use of the RIO TINTO name and mark, and requiring
Defendants to withdraw the corporate registration of Rio Tinto America Inc., the reservation of
the Rio Tinto America Inc. and Rio Tinto Unified business names from the Utah Secretary of
State, and any other company incorporated or name reserved in any other state that uses the RIO
TINTO name or mark.

2. An order requiring that all website materials, advertisements, signs, literaturc,

business forms, cards, labels, pamphlets, brochures, and any other written and printed material in

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the possession or control of Defendants and all related corporations using the RIO TINTO name
or mark along with the owners, directors, officers, employees, agents, representatives, licensees
and any and all persons in active concert or participation with Defendants which bear the RIO
TINTO name or mark, and any means of making the same, be delivered up to the Plaintiffs for
destruction

3. An accounting of Defendants’ profits, if any, relating to its sales or contracts
using the RlO TINTO name or mark.

4. An award of monetary damages-for the injuries sustained by Plaintiffs as a result
of Defendants’ trademark infringement, false designation of origin and false or misleading
description or representation of fact and dilution.

5. An award of treble damages sustained by Plaintiffs as a result of Defendants’
trademark infringement, false designation of origin and false or misleading description or
representation of fact and dilution in accordance with 15 U.S.C. § 1117.

6. Costs and disbursements incurred in the prosecution of this action, including
reasonable attorneys’ fees, as provided under and in accordance with Utah law, common law and
15 U.S.C. § 1117.

7. Statutory damages.

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8. Such other and further relief as the Court deems appropriate to protect the rights

of Plaintiffs

DATED this 2“"1 day or october, 2006.

Plaintiffs’ Addresscs:

Rio Tinto America lnc.

Rio Tinto Energy America .
Kennecott Utah Copper Corporation
Kennecott Land Company

c/o J ames M. Elegante

8291 West 3595 South

Mag;na, Utah 84044

Barbara K. Polich ` '
Jason D. Boren

Ballard Spabr Andrews & lngersoll, LLP
One Utah Center, Suite 600

201 South Main Street

Salt Lake City, UT 84111-2221
Telephone: 801-531-3000

Fax: 801-531-3001

Email: polichb@ballardspahr.com
borenj@hallardspahr.com

Gary R. Plotecher

Ann M. Maher

Nicole J. Renouard

Whyte Hirschboeck Dudek S.C.

555 East Wells Street

Suite 1900

Milwaukee, WI 53202

Telephone: 414-273-2100

Fax: 414-223-5000

Email: gplotecher@whdlaw.com
amaher@whdlaw.com
nrenouard@whdlaw.com

Attorneys for Plaintiff Rio Tinto America Inc., Rio
Tinto Energy America, Kennecott Utah Copper
Corporation and Kennecott Land Company

 

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JS 44 (Rev. 11104)

 

CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court This form, approved by the .ludicial Conference of the United States in September 1974, is required for the use of the Clerk
of Court for the purpose of` initiating the civil docket sheet (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

r. (a) PLArNTIFF(s):

Rio Tinto America, Inc.; Rio Tinto Energy America; Kennecott Utah
Copper Colpoiation; Kennecott Land Company, each being a
Delaware corporation

(b) County of Residence of First Listed Plaintiffs Campbell Cn§ WY

 

(ExcEPr IN us naman cASas)`

(c) Attomey(s) (Firm Name, Address and Telephone Number):

(see attachment)

 

(a) DEFENDANr(s)=

Thomas A. Belchak, §'
corporation land dfl?i’§'l?[f _

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§@,`ual; Rio Tinto America lnc., a Utah

(b) County of Rcsidence of First Listed Defendant: Salt Lake Coun§ UT

 

(IN U s PLArNrn-'P cAsris oNi.Y`)' ' ` '
rN LAND coNDEhuvATioN cAsEs nsa ran mention or rita LAND vaoLvED.

NOTF.:

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(c) Attomey(s}l(Fiirn:.;h_iame,<::@driess“§q§l"l`el€phonc Number):

unknown

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (PLACE AN “x” rN oNa Box oNLv) III. CI'I`IZENSHIP OF IPRINCIPAL PARTIES (PLAca AN “x” rN ona Box ron PLArNr:FF
, AND ona Box roa DEFENDAN'[) (Foiz nrvnssrr‘r cAsrl_s oNLY)
g l U.S. Government g 3 FederalQuestion
Plaintiff (U.S. Govemment Nol a Party) PTF DEF PTF DEF
1:| 2 u.s. Goverhmem _{:| 4 niversiry unaware citizemhip er citizen er This slate |:| 1 1:1 1 Inl_:orperated or Princlpal of l:\ 4 [:] 4
Defendant Panies in Itenr Ill) Busrness m this State
Citizen of Another State 2 2 ince rated and Principal of 5 5
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Business in Another State
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V. ORlG'lN (PLACE AN “X" IN ONE BOX ONLY)
g l Origil_ial Proceoding m 2 Rernoved from State m 3 Remanded from m 4 Reinstared or m 5 Tra.nsi`crred from another n 6 Multidistrict m 7` Appealto District Judg¢
Coun Appe]lale Courl Reopened district (specif`y) Litigation From Magistl‘aie judgment
Vl. CAUSE OF ACTION (Cile the U.S. Civil Statute under which you are filing and write a brief statement ofcause. Do not cite jurisdictional statutes unless diversity.)
15 U.S.C. §1125(a) - trademark infringement
VII. REQUESTED IN COMPLA[NT l_:] CHECK IF THIS IS A CLASS DEMAND $ >$100,00{] CHECK YES only if demanded ill COHH>]ainl=

 

ACTlON UNI)ER F.R.C.P. 23

 

and injunctive relief

 

JURY DEMANI): 13 Yes g No

 

vIH.RELATED CASE(S) IF ANY (See instructions} l JUDGE;

DOCKET NUMBER:

 

 

 

Judge Dee Benson

 

DATE SIGNATURE OF ATTORNEY OF RECORD

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Case 2:06-cV-00838-DB Document 1 Filed 10/02/06 Page 19 of 20

ATTACHMENT TO CIVIL COVER SHEET

Mif§

Rio Tinto America, lnc.;

Rio Tinto Energy America;

Kennecott Utah Copper Corporation; and
Kennecott Land Company

Defendants

Thomas A. Belchak _
9579 South Dunsinane Dr.
South Jordan, UT 84095-9512
(801) 280-2524

Rio Tinto America Inc.

d/b/a Rio Tinto Unified

c/o ItS Registered Agent, Thomas A. Belchak
- 9579 South Dunsinane Dr.

South Jordan, UT 84095-9512

(801) 280-2524

DMWEST #6448993 v1

Attorneys for Plaintiff

Berbere K. Polich (Uiah Ber #2620)
Jason D. Boren (Utah Bar #7816)

- BALLARD SPAHR ANDREWS & INGERSOLL, LLP

One Utah Center

201 South Main Street, Suite 600

Salt Lake City, UT 84111-2221

Telephone: (801) 531~3000

Faesirnile: (801) 531-3001

Email: polichb@baliardspahr.com
borenj@ballardspahr.com

Gary R. Plotecher

Ann M. Maher

Nicole J. Renouard

WHY'IE HIRSCHBOECK DUDEK S.C.

555 East Wells Street, Suite 1900

Milwaukee, WI 53202

Telephone: (414) 273-2100

Facsimile: (414) 223-5000

Email: amaher§a?whdlaw.com
nrenouard@thlaw.coni
gplotecher@vvhdlaw.com

Attorney for Defendants

(unknown at this time)

 

 

 

(unknown at this time)

 

 

 

 

 

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Please See the
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